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                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

                                       )
                                       )
IN RE: BLUE CROSS BLUE SHIELD          )
ANTITRUST LITIGATION                   ) Master File No. 2:13-CV-20000-RDP
(MDL No. 2406)                         )
                                       ) This Document relates to Subscriber
                                       ) Track cases.
                                       )
                                       )


  DEFENDANTS’ POST-HEARING BRIEF IN SUPPORT OF FINAL APPROVAL
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                                       INTRODUCTION

       The Court’s Final Approval Hearing on October 20–21, 2021, amply demonstrated that

this Settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). Objectors have not

established that the significant injunctive and monetary relief in this Settlement is unfair,

unreasonable, or inadequate under the law. The Court should therefore grant final approval to the

Settlement.

       Defendants’ and Subscribers’ pre-hearing briefing sets forth more fully the legal basis for

approval of the Settlement. This brief provides supplemental authority on four issues addressed

during the Final Approval Hearing. First, the Court should hold that the Blues’ service areas, as

well as the go-forward Blue System as a whole, are not per se unlawful. Only Home Depot insists

that the Court may not reach this issue. But under Grunin, Robinson, and Bennett, this inquiry is

necessary to determine whether the settlement is “fair, reasonable, and adequate.” With the

elimination of the National Best Efforts (“NBE”) rule, there can be no question that service areas

and the go-forward System are not per se unlawful, but rather subject to the rule of reason. Service

areas arose from independent common-law trademark rights and today facilitate the

procompetitive integration at the heart of the Blue System. Subscribers agree that these factors

distinguish Sealy and Topco.

       Second, the Settlement appropriately releases claims related to the go-forward System.

Objectors’ cases are inapposite as they address overbroad releases of unrelated claims. Third, the

Second Blue Bid is appropriate divisible Rule 23(b)(3) relief, and the clarified understanding of

the (b)(3) divisible relief class would require, at most, limited supplemental notice to Self-Funded

Accounts. Fourth, the Qualified National Account (“QNA”) criteria are grounded in established

economics and antitrust principles. Objectors have shown nothing to justify second-guessing the

parties’ reasoned judgments and hard-fought compromises on this or any other issue.
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I.        THE GO-FORWARD SYSTEM IS NOT “PER SE” OR “CLEARLY ILLEGAL,”
          BUT RATHER SUBJECT TO THE RULE OF REASON.

          A.     This Court must address the standard of review for the go-forward Blue
                 System to confirm that the Settlement Agreement does not sanction “clearly
                 illegal” conduct but rather is “fair, reasonable, and adequate.”

          To approve a class settlement, a district court must determine that the settlement is “fair,

reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). A settlement that sanctions the continuation

of clearly illegal conduct is not fair, reasonable, and adequate by definition, and so the district

court automatically abuses its discretion if it approves a settlement that allows “clearly illegal”

conduct to continue. Robertson v. NBA, 556 F.2d 682, 686 (2d Cir. 1977) (“It is true that a

settlement that authorizes the continuation of clearly illegal conduct cannot be approved.”); Fraley

v. Batman, 638 F. App’x 594, 597 (9th Cir. 2016) (“[A] district court abuses its discretion in

approving a settlement only if the agreement sanctions ‘clearly illegal’ conduct.”); see also Bennett

v. Behring Corp., 737 F.2d 982, 987 (11th Cir. 1984).

          In the antitrust context, courts have repeatedly equated “clearly illegal” and “illegal to a

legal certainty” with “per se illegal.” The leading case on this issue is Grunin v. International

House of Pancakes, 513 F.2d 114 (8th Cir. 1975), which involved an antitrust settlement between

IHOP and its franchisees. The settlement eliminated some of IHOP’s challenged practices, but

allowed others to continue. Id. at 119. The objectors asserted that the settlement “perpetuate[d]

antitrust violations by virtue of the fact that it” kept in place a per se illegal tying arrangement. Id.

at 123.

          On appeal, the Eighth Circuit agreed with “appellant’s statement that a court cannot lend

its approval to any contract or agreement that violates the antitrust laws.” Id. The court explained

that, “unless the terms of the agreement are per se violations of the antitrust law, we must apply a

‘reasonableness under the totality of the circumstances’ standard to the court’s approval.” Id. at



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124. The court then analyzed the challenged restraints that would continue to exist under the

settlement. Based on this “survey of the theories advanced by the parties,” it concluded that “the

alleged illegality of the settlement agreement is not a legal certainty. Thus, having determined

that the settlement terms were not illegal per se, we must test appellant’s remaining claims of error

against the broad area of discretion left to the district court.” Id. at 124 (emphasis added). As this

discussion makes clear, Grunin equated and used interchangeably the concepts of “per se”

illegality under the antitrust laws and illegal to a “legal certainty.” Id. The court ruled that the per

se standard did not apply in order to conclude to a “legal certainty” that the settlement did not

condone illegal conduct. Id.

        Subsequent courts have explicitly followed Grunin’s approach. For example, in Robertson

v. NBA, Oscar Robertson and other players challenged various NBA rules under the antitrust laws.

As part of a settlement, the NBA eliminated some, but not all, of the challenged rules. 556 F.2d

at 686. (That, of course, is also the situation here.) As in Grunin, the Robertson court concluded

that the settlement was not “clearly illegal” because the go-forward System was not per se

unlawful: “[T]he alleged illegality of the settlement agreement is not a legal certainty. The

challenged practices have not been held to be illegal per se in any previously decided case,” and

thus “the settlement authorizes no future conduct that is clearly illegal.” Id. (internal quotation

marks omitted); see also White v. NFL, 836 F. Supp. 1458, 1468 (D. Minn. 1993) (following

Grunin and Robertson and explaining that “a settlement agreement should be approved unless the

terms of the agreement are per se illegal, or illegal to a ‘legal certainty’ or authorize future conduct

that is clearly illegal”).

        Subscribers agree. At the Final Approval Hearing, Subscribers’ Counsel explained that the

Court must confirm that neither the go-forward system nor “any feature of the system” is clearly




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illegal. Tr. I at 53:5–8 (“[The Court] need only conclude that neither the going-forward Blue

system in the aggregate, which you examined in your standard of review order, nor any feature of

that system going forward is clearly illegal.”). And they agreed that, to make this determination,

the Court must find that the Settlement “doesn’t give the defendants some kind of a green light or

a license to engage in patently anticompetitive per se behavior.” Id. at 58:7–9; see also id. at

71:19–24 (“[W]e’ve ourselves kind of gone round and round on whether saying that something

that is clearly illegal is different from saying something is a per se violation. And we haven’t been

able to come up with an articulable . . . distinction.”).

         National Account Objectors also concur that “this Court must now decide the question” of

whether the go-forward System is “per se illegal.” Nat’l Account Obj. Pre-Hearing Br. at 14; Tr.

I at 134:6–10 (acknowledging the clearly illegal standard is “synonymous to a per se violation”).

In fact, the only party to contest this point is Home Depot, which alone contends the Court cannot

reach the per se issue without issuing an impermissible advisory opinion. Home Depot Pre-

Hearing Br. at 24–31. That position is plainly incompatible with Grunin, Robertson, Bennett and

subsequent cases approving the same standard of review determination Home Depot objects to

here.1

         Home Depot argued at the Final Approval Hearing that Bennett v. Behring Corp. broke

from this uniform precedent and “prohibits [this Court] from saying: I have decided that the

conduct that would continue is not per se unlawful,” even though this is exactly what the Grunin



1
  Apart from being contrary to Grunin, Robertson and Bennett, none of which were advisory, Home Depot’s advisory
opinion argument is wrong because (1) the clearly illegal/per se illegal issue is a necessary part of the Court’s “fair,
reasonable, and adequate” inquiry; (2) the clearly illegal/per se question has been fully joined by parties with standing,
see Devlin v. Scardelletti, 536 U.S. 1, 6–7 (2002) (“As a member of the [ ] class, [the objector] has an interest in the
settlement that creates a ‘case or controversy.’”), and (3) no party is advocating for a final, binding determination on
the merits—i.e., the legality or illegality of service areas or the go-forward System—nor could a settlement final
approval order have that effect. See In Re: C.D. Jones & Co., Inc., 658 F. App’x 1000, 1002 n.2 (11th Cir. 2016)
(settlement approval order would not have “preclusive effect as a final judgment on the merits”).


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court did. Tr. I at 158:21–22; contrast Grunin, 513 F.2d at 124 (“having determined that the

settlement terms were not illegal per se . . .”). But Bennett explicitly followed Grunin. Bennett,

737 F.2d at 987 (citing Grunin as the sole authority for the “legal certainty” standard it set forth).

There is nothing to indicate the Eleventh Circuit was creating a circuit split and adopting a

divergent approach. Indeed, Bennett did not address the standard of review for the simple reason

that it was not faced with conduct that could possibly be characterized as per se illegal. The

defendant real estate developer in that case could not have had market power, and so the tying

claim at issue was necessarily subject to the rule of reason. See id. at 984. Because the standard

of review was not reasonably subject to dispute, the objectors in Bennett, unlike here, were seeking

a ruling on the ultimate legality of the post-settlement system, an invitation the district and circuit

courts correctly declined. Compare id. at 986 (“[Objectors] contend that the settlement should be

set aside because it perpetuates a violation of the Sherman Antitrust Act.”) with Tr. I at 111:1–2

(Nat’l Account Objectors’ Counsel seeking court ruling on “the per se rule and whether it remains

applicable”).

       B.       Because service areas and the go-forward System are not per se or clearly
                illegal, the rule of reason applies.

       As articulated more fully in Defendants’ prior briefing, service areas and the go-forward

Blue System are not per se unlawful, but instead subject to the rule of reason. See Dkts. 2727–28,

2734–35, 2752, 2755, 2772. The purpose of the Blue System’s service areas is to protect the value

and utility of the Blue Marks, and these procompetitive benefits at the very least justify rule of

reason review. Objectors rely on Sealy and Topco, but these decisions are distinguishable because

they did not involve preexisting trademark rights or the kind of ongoing cooperative integration

that is at the heart of the Blue System.




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               1.      Service areas and the go-forward System protect and strengthen
                       trademark rights.

       The Blue System’s service areas—which existed long before NBE—settle trademark rights

and protect the Blue Marks. As the Second Circuit has explained, “trademarks are by their nature

non-exclusionary,” and thus presumptively procompetitive. Clorox Co. v. Sterling Winthrop, Inc.,

117 F.3d 50, 56 (2d Cir. 1997). For this reason, “[a]greements to protect trademarks . . . should

not immediately be assumed to be anticompetitive—in fact . . . [courts] presume they are

procompetitive.” 1-800 Contacts, Inc. v. FTC, 1 F.4th 102, 116 (2d Cir. 2021) (holding the FTC

“should not apply an abbreviated rule of reason analysis” to agreements designed to protect parties’

trademark rights). See also FTC v. Actavis, Inc., 570 U.S. 136, 159 (2013) (holding the rule of

reason applies to settlements designed to protect drug patent rights). As Subscribers’ Counsel

acknowledged at the Final Approval Hearing: “while I did think that the prohibition on green

competition was clearly illegal, the issue with trademark is more complicated. I’ve said that to the

Court from the beginning.” Tr. II at 16:6–9.

       Service areas in the Blue System originated from Blue Plans’ common-law trademark

rights, not from a horizontal market-division agreement. As this Court previously explained, Plans

that used the Blue Marks in their respective areas gained common-law trademark rights and the

ability to exclude others from using those marks in the same regions. In re Blue Cross Blue Shield

Antitrust Litig., 308 F. Supp. 3d 1241, 1264 (N.D. Ala. 2018) (“The Rule 56 evidence here shows

that certain Plans initially developed ‘individual’ trademark rights.”). Blue Plans subsequently

centralized their rights with national organizations, which secured federal trademark protections

for the Blue Cross and Blue Shield marks, and licensed those marks back to the Plans in the same

areas where the Plans had previously used the marks. Id. at 1264–65. In other words, the modern




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service area system merely codifies pre-existing, independently acquired common-law trademark

rights, and allows for greater protection of the Blue Marks than existed at common law.

               2.      The Blue System’s service areas enable a procompetitive integration of the
                       Blue Plans.

       Service areas and the go-forward Blue System facilitate procompetitive integration,

cooperation, and joint products. If service areas and the go-forward System “might plausibly be

thought to have a net procompetitive effect,” they should not be subject to the per se rule. Cal.

Dental Ass’n v. FTC, 526 U.S. 756, 771 (1999); Actavis, 570 U.S. at 159 (“[A]bandonment of the

‘rule of reason’ . . . is appropriate only where ‘an observer with even a rudimentary understanding

of economics could conclude that the arrangements in question would have an anticompetitive

effect on customers and markets.’” (citation omitted)); see also Nat’l Bancard Corp. v. VISA

U.S.A., Inc., 779 F.2d 592, 599 (11th Cir. 1986) (per se rule does not apply when agreement

“potentially could create an efficiency enhancing integration to which the restraint is ancillary”).

       Here, such benefits are not only plausible—they are well-established. The Blue System’s

service areas enable the System to provide a unique national network of locally focused insurers

that provide coverage in remote and rural areas where other insurers are unwilling to go. See In

re Blue Cross Blue Shield Antitrust Litig., 2018 WL 3326850, at *1 (N.D. Ala. 2018). Without

service areas, the incentive to engage in such “productive cooperation” would be severely

diminished if not eliminated. See Polk Bros., Inc. v. Forest City Enters., Inc., 776 F.2d 185, 190

(7th Cir. 1985). As just one example, the Blue System’s service areas facilitate the creation and

maintenance of the BlueCard Program. As this Court recognized, the BlueCard Program has

plausible procompetitive benefits, including “allow[ing] the Blue Plans to provide subscribers a

single point of contact like insureds enjoyed with the national insurers” and “allow[ing] the Plans

to offer nationwide coverage.” 308 F. Supp. 3d at 1255.



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       Service areas and the go-forward System enable Plans to offer integrated products and

services that no Plan could offer on its own—specifically, a nationwide Blue-branded insurance

product. This, in turn, increases “interbrand competition,” which is “the primary purpose of the

antitrust laws.” State Oil Co. v. Khan, 522 U.S. 3, 15 (1997). Consequently, such procompetitive

collaboration cannot be labeled a per se violation. See Broad. Music, Inc. v. Columbia Broad. Sys.,

Inc., 441 U.S. 1, 14–15 (1979); Augusta News Co. v. Hudson News Co., 269 F.3d 41, 48 (1st Cir.

2001) (“It is not a per se violation for local competitors to join in providing region-wide service

that none alone provided before.”); Polk Bros., 776 F.2d at 188–89 (“A court must distinguish

between ‘naked’ restraints, those in which the restriction on competition is unaccompanied by new

[] products, and ‘ancillary’ restraints, those that are part of a larger endeavor whose success they

promote.”).

       Even if the Blue System’s service areas were not strictly necessary for the System to offer

a nationwide Blue product, they would nevertheless be subject to the rule of reason for the

independent reason that they “enable [the Blues] to do something more cheaply or better than they

did it before.” See NCAA v. Alston, 141 S. Ct. 2141, 2155 (2021). In particular, the trademark

protection guaranteed by the Blue System’s service areas has incentivized and enabled Blue Plans

to maintain a unique focus on local brand promotion and insurance coverage in their individual

service areas, leading to unparalleled depth and breadth of coverage. See In re Blue Cross Blue

Shield Antitrust Litig., 308 F. Supp. 3d at 1256 n.9. Blue Plans are “often the only health insurance

option in rural areas” while non-Blue insurers “have demonstrated a willingness to pull out of

markets and leave populations uninsured.” Id.; 2018 WL 3326850, at *1.

       In addition, with the elimination of NBE, Blue Plans can compete freely in each other’s

service areas on a non-Blue-branded basis while respecting the historic system of trademark rights




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that form the Blue System. Thus, the Blue System’s service areas are well-crafted as trademark

rules to protect the utility of the Blue Marks. These procompetitive benefits are precisely why

courts do not apply the per se standard to agreements to protect trademark rights. See 1-800

Contacts, 1 F.4th at 119 (acknowledging “reduced litigation costs and protecting . . . trademark

rights” as procompetitive justifications for trademark settlements); Clorox, 117 F.3d at 61 (“Efforts

to protect trademarks, even aggressive ones, serve the competitive purpose of furthering trademark

policies.”).2 The Blue System’s service areas are no exception.

                  3.       Sealy and Topco are distinguishable.

         National Account Objectors rely on Sealy and Topco to argue that the Blue System’s

service areas are per se unlawful. Nat’l Account Obj. Pre-Hearing Br. at 14–16; Tr. I at 134:16–

21. As the Court has recognized, “[t]he continued precedential value of Sealy and Topco has been

called into question.” In re Blue Cross Blue Shield Antitrust Litig., 2020 WL 8256366, at *24

(N.D. Ala. 2020); see also 2018 WL 3326850, at *4 (citing Rothery Storage & Van. Co. v. Atlas

Van Lines. Inc., 792 F.2d 210, 226 (D.C. Cir. 1986)); Tr. II at 15:16–19 (Subscribers’ Counsel:

“[Y]ou do have to take into account whether Topco continues to be good law.”). At a minimum,

caution should be exercised in applying these decisions beyond their specific facts.

         All parties agree that the Court’s Standard of Review ruling addressed only the aggregation

of service areas and NBE. See 2020 WL 8256366, at *24 (“[T]his court’s decision was based on

the aggregation of restraints that existed during the class period.”); Subs. Pre-Hearing Br. at 37

(“Subscriber Plaintiffs prevailed in this Court on application of a per se standard to the aggregation

of the NBE and ESAs.”); Nat’l Account Obj. Prelim Approval Pre-Hearing Br. at 14 (framing




2
  Notably, not a single objector even cited 1-800 Contacts in their written submissions or at the final approval hearing,
let alone offered a compelling reason why the Court should break from the Second Circuit’s reasoning.



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court’s current inquiry as whether per se standard applies “in the absence of the aggregation”). For

this reason alone, Sealy is distinguishable, as it involved the aggregation of, inter alia, territorial

restraints and price fixing. United States v. Sealy, Inc., 388 U.S. 350, 354 (1967) (listing the

“aggregation of trade restraints” present in that case).

       Further, neither Sealy nor Topco involved an arrangement to protect independently

acquired trademark rights. In Topco, the defendants created a new mark and formed a licensing

organization for the purpose of allocating territories among its members. United States v. Topco

Assocs., Inc., 405 U.S. 596, 598–600 (1972). Moreover, the Topco territories were “often allocated

to members who d[id] no actual business in those areas.” Id. at 602. And in Sealy, there was “no

dispute that exclusive [trademark] territories were allotted to the manufacturer-licensees,” who did

not previously have any rights to that mark, 388 U.S. at 352, and the licensor “shifted territory

among [those] licensees” over time, United States v. Sealy, Inc., 1964 WL 8089, at *3–4, *17

(N.D. Ill. Oct. 6, 1964). In contrast, the Blues used their license agreements only as a tool to settle

and protect their existing common-law rights in the Blue Marks, and the licensed service areas

matched precisely the Plans’ use of the marks at common law.           In re Blue Cross Blue Shield

Antitrust Litig., 308 F. Supp. 3d at 1264–65. Both of these distinctions plainly pull the Blue System

outside the reach of Topco and Sealy. See 1-800 Contacts, 1 F.4th at 116.

       Sealy and Topco also did not involve the kind of cooperative integration, creation of new

products and services, and other procompetitive benefits present here. See Topco, 405 U.S. at 607

(explaining the allocations under consideration “lack[ed] . . . any redeeming virtue” whatsoever);

Sealy, 388 U.S. at 351–55 (indicating no ongoing interaction among Sealy licensees beyond

“flagrant and pervasive price fixing”). More recent decisions have made clear that these cases do

not categorically mandate application of the per se rule to any agreement capable of being




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characterized as a horizontal market allocation: “Despite unguardedly broad language in [Topco],

it is commonly understood today that per se condemnation is limited to ‘naked’ market division

agreements, that is, to those that are not part of a larger procompetitive joint venture.” Augusta

News Co., 269 F.3d at 48 (emphases added); see also Procaps S.A. v. Patheon, Inc., 845 F.3d 1072,

1083 (11th Cir. 2016) (“Our precedent makes clear that just because an agreement is capable of

being characterized as a market allocation agreement does not mean that the per se rule applies.”

(emphasis added)).3 Even Subscribers’ Counsel acknowledged that bases exist for distinguishing

Topco. Tr. II at 15:18–21 (“I agree to some extent with defendants’ counsel that you have to look

at questions like integration, questions like the difference between products and services.”); id.

88:6–9 (“And [the go-forward system is] different than Topco because here there clearly were

Blues that had green businesses of significant size and were operating in competition with Blues

in areas outside their ESAs.”).4

         Thus, the Court should hold that the service areas and the go-forward System are not per

se unlawful.5 Since the per se standard does not apply, the default rule of reason perforce applies



3
  In Procaps, because there were “some procompetitive efficiencies that might flow” from the challenged agreement,
the Eleventh Circuit was “not prepared to condemn the Collaboration Agreement out of hand.” Id. at 1084.
4
  Delta Dental likewise does not support the argument that the Blue System’s service areas are per se unlawful. There,
the district court found that, at the Rule 12 stage, “[p]rior to any factual development,” the plaintiffs had adequately
pled a per se claim regarding the Delta Dental territorial allocations. 484 F. Supp. 3d 627, 635 (N.D. Ill. 2020). That
decision reflected those particular plaintiffs’ allegations about Delta Dental, not the extensive factual record about the
historical development of the Blue System that exists in this case. As this Court explained in its 2014 motion to
dismiss ruling, “while the mode of analysis is certainly a question of law, ‘underpinning that purely legal decision are
numerous factual questions.’” 26 F. Supp. 3d 1172, 1186 (N.D. Ala. 2014) (citation omitted). The inquiry here must
take account of the extensive factual record, not the threshold pleading question addressed in Delta Dental.
Subscribers agree that Delta Dental’s procedural posture distinguishes it from the inquiry before the Court. Tr. II at
16:10–21.
5
  No party has claimed that any aspect of the go-forward System other than service areas is per se unlawful. See Nat’l
Account Obj. Pre-Hearing Br. at 14–16. Nor could they. The Local Best Efforts rule, for example, serves a key
function in ensuring that Blue Plans develop a strong Blue brand in their respective service area, as Subscribers have
explained. Subs. Pre-Hearing Br. at 89 (“This rule is justified by the Blues as a trademark rule that requires each Blue
Plan to focus its business within its ESA on its use of the Blue Marks.”); Tr. II at 105:3–4 (Subscribers’ Counsel
recognizing “that the reasonably tailored local best efforts rules designed to encourage local investment are historically
and traditionally virtually universally upheld”). In any event, through almost a decade of litigation with Subscribers,


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to the go-forward System and service areas. See Tr. I 71:12–15 (Subscribers’ counsel: “And this

is a binary inquiry . . . . [I]n other words, if it’s not a per se violation, then it perforce has to be

judged under the rule-of-reason standard. That’s what’s left. That’s the presumptive standard in

cases.”); see also Procaps, 845 F.3d at 1083 (“We start with the general assumption that the rule

of reason applies.”); Buccaneer Energy (USA) Inc. v. Gunnison Energy Corp., 846 F.3d 1297,

1306 (10th Cir. 2017) (“The rule of reason is the default approach, and there is a presumption in

favor of its application.”).

II.     A FUTURE RELEASE OF CONTINUING CONDUCT IS PERMISSIBLE.

        This Court and courts around the country recognize defendants’ legitimate interest in

achieving broad finality. Without broad finality, “there would be no reason for a defendant to

enter into a settlement.” Faught v. Am. Home Shield Corp., 2010 WL 10959223, at *15 (N.D. Ala.

Apr. 27, 2010) (Proctor, J.). Accordingly, a settlement agreement can include a prospective release

of future antitrust claims for continuing released conduct so long as that conduct is not clearly

illegal. In re Managed Care, 756 F.3d 1222, 1236 (11th Cir. 2014); Robertson, 556 F.2d at 686.

While a court may not release unknown future antitrust claims based on new, different conduct

after a settlement, see Redel’s Inc. v. Gen. Elec. Co., 498 F.2d 95, 99 (5th Cir. 1974), a forward-

looking release covering a continuation of pre-release conduct is wholly appropriate, especially in

antitrust cases (as long as the conduct is not per se illegal).6 See, e.g., In re Managed Care Litig.,

2010 WL 6532985, at *12 (S.D. Fla. Aug. 15, 2010) (release of future claims based on pre-existing


and despite extensive discovery and expert work, no Subscriber expert has identified or quantified any harm flowing
from Local Best Efforts.
6
  In In re Managed Care, the Eleventh Circuit rejected the precise argument advanced by Home Depot concerning
forward-looking releases of claims against continuing violations. Compare Tr. I at 189:21–190:6 (citing Morton’s
Market and Redel’s), and Appellants’ Br., In re Managed Care Litig., 2012 WL 4335018, at *28–32 (11th Cir.
Sept. 11, 2012) (same), with In re Managed Care, 756 F.3d at 1236 (“The fact that Appellants seek to base the new
claims on certain conduct post-dating the Effective Date does not change this conclusion. Because they merely
constitute a continuation of the conspiracy alleged in MDL 1334, WellPoint’s purported bad acts are best seen as new,
overt acts within an ongoing conspiracy, rather than new claims in and of themselves.”).


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conduct is permissible and “considerable caselaw stands for the proposition that public policy

[favors settlement] when the only ‘prospective’ application of the release in question is the

continued adherence to a pre-release restraint on trade”); In re Payment Card Interchange Fee &

Merch. Disc. Antitrust Litig., 2019 WL 6875472, at *25 (E.D.N.Y. Dec. 16, 2019) (settlements

can release future antitrust claims “based on a continuation of conduct at issue and underlying the

original claims”); Madison Square Garden, L.P. v. Nat’l Hockey League, 2008 WL 4547518, at

*8 (S.D.N.Y. Oct. 10, 2008) (enforcing prospective release where it permitted “continued

adherence to a pre-release restraint”).

        The Settlement Agreement here permissibly releases claims based on the continuation of

conduct that started before the settlement.7 Because the go-forward System, and service areas

alone, are not clearly illegal, there is no concern with the forward-looking release incorporated

into the Settlement Agreement. See, e.g., Grunin, 513 F.2d at 123–24; Robertson, 556 F.2d at 686;

In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 2019 WL 6875472, at *25–

26 (upholding release of claims related to future rule changes so long as they do not also release

“entirely unrelated antitrust claims”).

        The cases Objectors cite to support their contrary argument are materially different from

this settlement. Contrary to Objectors’ representations at the final approval hearing, Tr. I at 183:8–

12; 185:21–186:3, Redel’s Inc. v. Gen. Elec. Co., 498 F.2d 95 (5th Cir. 1974), did not involve a

settlement that released claims based on continued conduct. Instead, a franchisor inserted a general


7
  The Monitoring Committee created by the Settlement is entirely consistent with this framework. For a five-year
period, it may only approve “mechanisms, rules, or regulations . . . within the scope of” the Class Injunctive Relief
articulated in Paragraphs 10 through 18 of the Settlement Agreement, and that “are not prohibited by this Agreement.”
Dkt. 2610-2 § 1(oo), (uuu); §§ 10–18; § 16(h). The Monitoring Committee’s release decisions must be unanimous,
and of the five members, two are appointed by Subscribers and one by the Court. Id. 1§(xx); App’x E ¶ 1(h). This
narrow role means that the Monitoring Committee is not an “impermissibly broad release[] . . . including ‘future’
entirely unrelated antitrust claims.” In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 2019 WL
6875472, at *26.



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release into all its franchise agreements, then attempted to enforce that release to bar an antitrust

claim. Id. at 98.      The court determined that the release was overbroad because the language

indemnified the franchisor against “‘all claims, demands, contracts, and liabilities’ without

narrowing the scope to antitrust violations alleged or that could have been alleged or those based

on continuing conduct.” In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig.,

2019 WL 6875472, at *26 (quoting and distinguishing Redel’s). Lawlor v. Nat’l Screen Serv.

Corp., 349 U.S. 322 (1955), is similarly distinguishable because it dealt with res judicata, not

settlement; the Court simply recognized that res judicata cannot bar future claims that could not

have been brought in the earlier action. Id. at 328 (holding that a previous judgment “cannot be

given the effect of extinguishing claims which did not even then exist and which could not possibly

have been sued upon in the previous case”); see also Xerox Corp. v. Media Scis., Inc., 609 F. Supp.

2d 319, 326 (S.D.N.Y. 2009) (distinguishing, among other cases, Lawlor and Redel’s because they

“do[] not prevent the injured party from releasing his claim and foregoing the burden of litigation”

(citation omitted)).

III.    THE SECOND BLUE BID PROVISION IS APPROPRIATE RULE 23(B)(3)
        RELIEF.

        The Second Blue Bid provision is divisible injunctive relief, and is therefore appropriately

considered (b)(3) relief. Courts recognize a distinction between indivisible injunctive relief, which

is properly treated as non-opt out (b)(2) relief, and divisible injunctive relief, which should be

treated as (b)(3) relief. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011) (“[C]laims

for individualized relief . . . do not satisfy [ ] Rule [23(b)(2)].”); Easterling v. Conn. Dep’t of Corr.,

278 F.R.D. 41, 51 (D. Conn. 2011) (“[T]he plaintiff’s claims for class-wide declaratory and

injunctive relief are certified under Rule 23(b)(2), while the plaintiff’s claims for monetary and

individualized injunctive relief are certified under Rule 23(b)(3).”). The Second Blue Bid



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provision is divisible injunctive relief appropriately treated under Rule 23(b)(3) because it is not

afforded to all class members; rather, entitlement to such relief depends on a class member’s

individualized circumstances.           Notably, no Settlement proponent or Objector criticized that

treatment at the Final Approval Hearing.                 Tr. II at 18:9–25 (Defendants and Subscribers

concurring); Tr. I at 102:23–103:5 (Nat’l Account Objectors acknowledging structure without

objection).

         A.       Recognizing that the Second Blue Bid is (b)(3) relief does not change the
                  Settlement Agreement’s class definitions, relief, or release.

         As this Court has recognized, the Settlement classes were always divided into a class

receiving divisible relief and a class receiving indivisible relief. Tr. II at 28:6–7 (The Court: “I

don’t think the class definition, like the scope of the class, changes in any way.”); id. at 27:9–13

(Subscribers’ counsel: “[W]e’ve always had an injunctive relief class and we’ve always had a

damages class.”). The Second Blue Bid has always been directed to a sub-class of the divisible

relief class, which had separate representation and counsel:                       the Self-Funded Sub-Class.

Dkt. 2610-2 § 1(sss) (defining “Qualified National Account” to require “a Self-Funded

Account”).8 This is confirmed by Settlement Agreement provisions stating that, like (b)(3)

monetary relief, the Second Blue Bid relief is not available to Opt-Outs from the (b)(3) class. Id.

§ 1(u), (z). The Settlement Agreement does not require opt-outs from the (b)(3) class to release

claims for divisible injunctive relief. Rather, the release is explicitly limited to the “extent

permitted by law.” Id. § 32.




8
  At the Final Approval Hearing, certain Objectors challenged the allocation to the Self-Funded Sub-Class on grounds
that the Sub-Class’s claims relate back to the filing of the Cerven complaint in 2012. See Tr. II at 144–46. Objectors’
relation-back arguments lack legal merit, including for the reasons articulated in Plaintiffs’ briefing. See Plfs. Pre-
Hearing Br. at 94–98.



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        B.       Supplemental notice, if necessary, should be appropriately tailored.

        As a preliminary matter, no new notice is required because the Long Form Notice was “not

materially misleading.” In re Sprint Corp. ERISA Litig., 443 F. Supp. 2d 1249, 1266 (D. Kan.

2006). The Long Form Notice directed class members to the Settlement Agreement and accurately

explained that a “Self-Funded Account does not release any claims for declaratory or injunctive

relief to request a Second Blue Bid during any time it meets the criteria to request such a bid under

the terms of the Settlement Agreement.”9 Long Form Notice, Dkt. 2812-5, Ex. O, at 10. See

Tennille v. Western Union Co., 785 F.3d 422, 436–37 (10th Cir. 2015) (rejecting argument that

notice was inadequate, in part because it “inform[ed] class members of several ways they could

obtain additional information about the claims that they would be releasing”). Moreover, any

clarification concerning individual injunctive relief is unlikely to “influence[] or alter[ their]

response to the Settlement in a significant manner.” Lazy Oil Co. v. Witco Corp., 95 F. Supp. 2d

290, 306 (W.D. Pa. 1997).

        If the Court nonetheless orders supplemental notice, it should be tailored to the

circumstances. The Court’s proposed final approval language would serve this purpose by

explicitly communicating the distinction between the two existing classes defined in the Settlement

Agreement: the 23(b)(2) indivisible relief class and the 23(b)(3) divisible relief class, which

includes the right for QNAs to request a Second Blue Bid. Any supplemental notice should be

limited to Self-Funded Accounts, as they are the only class members who could arguably have

suffered any prejudice. And in case of supplemental notice, the Court should only allow objections




9
  The Settlement Agreement in turn explains: “The Parties intend that the releases in this Agreement be interpreted
and enforced broadly and to the fullest extent permitted by law”—it does not purport to release claims more broadly
than the law allows. Dkt. 2610-2 § 32.



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related to the new notice, as there is no authority or justification for a more general reopening of

the objection period.

       First, the Court’s proposed clarifying language to be added to the Final Approval Order is

appropriate:

       A Rule 23(b)(3) opt out reserves the right to pursue divisible relief including
       monetary relief and divisible injunctive relief. Divisible injunctive relief may
       include the right to pursue in litigation a Second Blue Bid. The parties acknowledge
       that, based on a claimant’s individual business and the facts and circumstances of
       the claims, a Rule 23(b)(3) opt out may pursue divisible injunctive relief that
       includes possible additional Blue bids. Whether such a remedy is merited will
       depend on the circumstances surrounding the individual claimant’s claim.
       However, the relief pursued by a Rule 23(b)(3) opt out may not infringe on the Rule
       23(b)(2) indivisible injunctive relief approved by the court.

       This language recognizes and communicates the key legal principles, including that any

injunctive relief pursued by a (b)(3) Opt-Out must be divisible injunctive relief and may not

infringe on the Rule 23(b)(2) indivisible injunctive relief. Nor, obviously, may an Opt-Out pursue

a claim for indivisible injunctive relief it has released as a member of the mandatory (b)(2) class.

For example, each member of the (b)(2) class has individually released any claim for injunctive

relief that service areas or other Blue policies are illegal or unenforceable. Opt-Outs “do not have

the right to prosecute an action . . . if doing so would . . . interfere with the parties’ settlement in

this case.” Faught v. Am. Home Shield Corp., No. 2:07-CV-1928-RDP, 2011 WL 12607338, at

*4 (N.D. Ala. Jan. 24, 2011), vacated, 660 F.3d 1289, 1293 (11th Cir. 2011) (holding settlement

injunction enforceable by contempt proceedings, rather than by additional injunction); Tr. II

19:24–20:1 (The Court: “[Objectors] don’t have the right to pursue any relief that would

undermine a class settlement enjoyed by millions of others.”).

       Moreover, the Court’s proposed language appropriately does not attempt to delineate the

specific relief a (b)(3) Opt-Out could seek in subsequent litigation. Whether a subsequent suit is

barred by the releases in this case, or interferes with the Settlement Agreement, will depend on the


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specific facts and claims of that suit. See, e.g., Faught, 2011 WL 12607338, at *5 (finding suit re-

litigated settled claims based on what the “amended complaint . . . expressly seeks”); Genesys

Software Sys., Inc. v. Ceridian Corp., 664 F. App’x 865, 870 (11th Cir. 2016) (holding settlement

release barred suit based on the “undisputed facts” of subsequent case). As Subscribers’ Counsel

explained, the appropriate (b)(3) relief “may depend on an individualized basis with respect to

particular litigants,” but is “a lot closer to two Blue bids than it is 36 Blue bids.” Tr. I at 128:24–

129:2. The Court’s proposed language appropriately communicates these principles.

       Second, any supplemental notice and opt-out period should be directed only to the Self-

Funded Sub-Class. The Second Blue Bid right is only available to eligible Self-Funded Accounts,

and thus they are the only class members who would require supplemental notice. See Tr. II at

136:21–23 (“The Court: There’s no divisible injunctive relief for anybody in the class you’re

representing. Mr. Boies: Exactly, Your Honor.”); see also, e.g., White, 836 F. Supp. at 1468 (D.

Minn. 1993) (for class of current and former NFL players, notice of changes to player-movement

rules was required for “only those class members who continue to play for NFL clubs” because

they “will likely be affected by the proposed amendments”); Rosner v. United States, 2005 WL

8155968, at *10 (S.D. Fla. Oct. 3, 2005) (explaining supplemental notice need only go to “those

Class Members adversely affected by the change”). The Long Form Notice’s comments on the

Second Blue Bid exclusively discuss Self-Funded Accounts; any clarification should similarly be

directed only to them.

       Third, any supplemental notice should not allow new objections to the Settlement’s relief

or release. When supplemental notice is issued, the choice of which (if any) deadlines are re-

opened is tailored to the issue that necessitated the notice. For example, if an amendment to the

settlement necessitates supplemental notice, new objections are only permitted regarding the




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amendment. See, e.g., Authors Guild, Inc. v. Google, Inc., No. 1:05-cv-08136, Dkt. No. 772

(S.D.N.Y. Nov. 19, 2009) (approving supplemental notice of an amendment to the settlement and

re-opening the objection deadline only as to the amendment); see also Weber v. Gov’t Emps. Ins.

Co., No. 07-1332, Dkt. No. 119, at 10 (D.N.J. Aug. 11, 2009) (not reopening the opt-out or

objection deadlines where the notice “was clear and more than sufficient” regarding those

deadlines). Here, there is no change to the Settlement’s relief or release. All class members have

had ample opportunity to object to those features of the Settlement. The only change, and therefore

the only appropriate grounds for new objections, is the supplemental notice language.

IV.    THE SECOND BLUE BID ELIGIBILITY CRITERIA ARE BOTH REASONABLE
       AND EQUITABLE.

       After hard-fought negotiations, the parties agreed to define “Qualified National Accounts”

such that they “will have 33 million Members in the aggregate.” Dkt. 2610-2 § (1)(u). The 33

million number encompasses approximately half of the members of large employers (greater than

5,000 employees) and approximately 31% of members of self-funded accounts, regardless of

carrier. Id. § 1(u), (z), (cccc), (ffff). According to Subscribers’ expert Daniel Rubinfeld, this relief

“will provide increased opportunity for competition in the market for national accounts.” See Dkt.

2610-10, Declaration of Daniel Rubinfeld, ¶¶ 33–37.

       This Settlement reflects a compromise that appropriately balances competing interests.

During settlement negotiations, Subscribers advocated to secure as many Second Blue Bids as

possible. Defendants worked to ensure that Second Blue Bids changes would not discourage the

inter-Plan collaboration essential to the unique, national Blue System structure. The final QNA

definition appropriately balances these competing concerns. Objectors point to no basis for

overturning this compromise, other than a desire for greater relief. But that is not the appropriate

inquiry for final approval of a settlement agreement. See Faught, 2010 WL 10959223, at *22



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(“[T]he Court should keep in mind that compromise is the essence of a settlement, and should not

make a proponent of a proposed settlement justify each term of settlement against a hypothetical

or speculative measure of what concessions might have been gained; inherent in compromise is a

yielding of absolutes and an abandoning of highest hopes.” (internal quotation marks omitted)).

        Significantly, no Objector has challenged the 5,000-employee cutoff for QNAs. While

there is no formal definition for what qualifies as a “national account,” courts have recognized

5,000 as a reasonable cutoff. See United States v. Anthem, Inc., 2017 WL 527923, at *1 (D.D.C.

Feb. 8, 2017) (“While various brokers and insurance carriers may draw differing lines to define

the boundaries of a ‘national account,’ the government’s use of 5000 employees as the threshold

is consistent with how both Anthem and Cigna identify the accounts within their own

companies.”). The smaller an employer, the more likely its needs can be met by local or regional

carriers. This QNA criteria reflects this commercial reality.

        The dispersion criteria is also grounded in practical economics. The core goal of the

Second Blue Bid provision is to provide additional relief to employers least able to turn to local or

regional carriers. Thus, the dispersion criteria channels the Second Blue Bid relief to truly

“national” accounts and away from geographically concentrated employers that are more likely to

have viable local or regional alternatives. Objectors challenging this criteria are simply asking the

Court to “substitute [its] own judgment as to optimal settlement terms for the judgment of the

litigants and their counsel.” Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1148–49 (8th Cir. 1999).10

        Objectors are also wrong to argue that the dispersion criteria somehow protect Anthem.

Defendants identified approximately 20 accounts in Anthem’s service area that are eligible to



10
   Objectors raised no new argument regarding Taft-Hartley and Church Plans at the Final Approval Hearing. Tr. II
at 94:22-95:6. These arguments fail for the reasons detailed in Defendants’ pre-hearing briefing. See Defs. Pre-
Hearing Br. at 20–21.



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request a Second Blue Bid. And as explained at the Final Approval Hearing, these are just a

sample; there are at least 150 more examples. Tr. II at 104:15–25. In sum, Objectors’ various

challenges to the Second Blue Bid criteria are meritless, and certainly do not show that the

settlement is not “fair, reasonable, and adequate.”

                                             CONCLUSION

       For the reasons stated above, this Court should grant final approval to the Subscriber

Settlement.


 Dated: November 12, 2021                             Respectfully submitted,

                                                      /s/ Daniel E. Laytin
                                                      David J. Zott, P.C.
                                                      Daniel E. Laytin, P.C.
                                                      Sarah J. Donnell
                                                      Christa C. Cottrell, P.C.
                                                      Zachary D. Holmstead
                                                      KIRKLAND & ELLIS LLP
                                                      300 North LaSalle
                                                      Chicago, IL 60654
                                                      Tel: (312) 862-2000
                                                      Fax: (312) 862-2200
                                                      david.zott@kirkland.com
                                                      daniel.laytin@kirkland.com
                                                      sarah.donnell@kirkland.com
                                                      christa.cottrell@kirkland.com
                                                      zachary.holmstead@kirkland.com

                                                      Kimberly R. West (Liaison Counsel)
                                                      Mark M. Hogewood
                                                      WALLACE, JORDAN, RATLIFF &
                                                      BRANDT, LLC
                                                      First Commercial Bank Building
                                                      800 Shades Creek Parkway, Suite 400
                                                      Birmingham, AL 35209
                                                      Tel: (205) 870-0555
                                                      Fax: (205) 871-7534
                                                      kwest@wallacejordan.com
                                                      mhogewood@wallacejordan.com




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                                                   Counsel for Defendant Blue Cross Blue
                                                   Shield Association


Craig A. Hoover                                    Evan R. Chesler
E. Desmond Hogan                                   Christine A. Varney
Justin Bernick                                     Karin A. DeMasi
Peter Bisio                                        Lauren R. Kennedy
Elizabeth Jose                                     David H. Korn
HOGAN LOVELLS US LLP                               CRAVATH, SWAINE & MOORE LLP
Columbia Square                                    Worldwide Plaza
555 13th Street, N.W.                              825 Eighth Avenue
Washington, DC 20004                               New York, NY 10019
Tel: (202) 637-5600                                Tel: (212) 474-1000
Fax: (202) 637-5910                                Fax: (212) 474-3700
craig.hoover@hoganlovells.com                      echesler@cravath.com
desmond.hogan@hoganlovells.com                     cvarney@cravath.com
justin.bernick@hoganlovells.com                    kdemasi@cravath.com
peter.bisio@hoganlovells.com                       lkennedy@cravath.com
elizabeth.jose@hoganlovells.com                    dkorn@cravath.com

Counsel for Anthem, Inc., f/k/a WellPoint,         Coordinating Counsel for Defendant
Inc., and all of its named subsidiaries in this    Blue Cross and Blue Shield Association;
consolidated action; Louisiana Health              Counsel for Defendants Blue Cross and
Service & Indemnity Company (Blue Cross            Blue Shield of Alabama; Blue Cross and
and Blue Shield of Louisiana); BCBSM, Inc.         Blue Shield of Florida, Inc.; Blue Cross
(Blue Cross and Blue Shield of Minnesota);         and Blue Shield of Massachusetts, Inc.;
Blue Cross and Blue Shield of South                Blue Cross and Blue Shield of North
Carolina; Horizon Healthcare Services, Inc.        Carolina, Inc.; BlueCross BlueShield
(Horizon Blue Cross and Blue Shield of New         of Tennessee, Inc.; California
Jersey); Blue Cross & Blue Shield of Rhode         Physicians’ Service d/b/a Blue Shield of
Island; Blue Cross and Blue Shield of              California; CareFirst, Inc.; CareFirst of
Vermont; Cambia Health Solutions, Inc.;            Maryland, Inc.; Group Hospitalization
Regence Blue Shield of Idaho; Regence Blue         and Medical Services, Inc.; CareFirst
Cross Blue Shield of Utah; Regence Blue            BlueChoice, Inc.; Health Care Service
Shield (of Washington); Regence Blue Cross         Corporation, an Illinois Mutual Legal
Blue Shield of Oregon                              Reserve Company, including its
                                                   divisions Blue Cross and Blue Shield of
                                                   Illinois, Blue Cross and Blue Shield of
John D. Martin                                     Texas, Blue Cross and Blue Shield of
Lucile H. Cohen                                    New Mexico, Blue Cross and Blue
Travis A. Bustamante                               Shield of Oklahoma, and Blue Cross and
NELSON MULLINS RILEY &                             Blue Shield of Montana; Caring for
SCARBOROUGH LLP                                    Montanans, Inc., f/k/a Blue Cross and
1320 Main Street, 17th Floor                       Blue Shield of Montana, Inc.; Hawaii
Columbia, SC 29201
Tel: (803) 255-9421


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Fax: (803) 256-7500                            Medical Service Association (Blue
john.martin@nelsonmullins.com                  Cross and Blue Shield of Hawaii)
lucie.cohen@nelsonmullins.com
travis.bustamante@nelsonmullins.com
                                                Kimberly R. West (Liaison Counsel)
Counsel for Anthem, Inc., f/k/a WellPoint,      Mark M. Hogewood
Inc., and all of its named subsidiaries in this WALLACE, JORDAN, RATLIFF &
consolidated action; Blue Cross and Blue        BRANDT, LLC
Shield of North Carolina, Inc.; Louisiana       First Commercial Bank Building
Health Service & Indemnity Company (Blue        800 Shades Creek Parkway, Suite 400
Cross and Blue Shield of Louisiana); BCBSM, Birmingham, AL 35209
Inc. (Blue Cross and Blue Shield of             Tel: (205) 870-0555
Minnesota); Blue Cross and Blue Shield of       Fax: (205) 871-7534
South Carolina; Horizon Healthcare Services, kwest@wallacejordan.com
Inc. (Horizon Blue Cross and Blue Shield of     mhogewood@wallacejordan.com
New Jersey); Blue Cross & Blue Shield of
Rhode Island; Blue Cross and Blue Shield of     Counsel for Defendants Blue Cross Blue
Vermont; Cambia Health Solutions, Inc.;         Shield Association; Health Care Service
Regence Blue Shield of Idaho; Regence Blue      Corporation, an Illinois Mutual Legal
Cross Blue Shield of Utah; Regence Blue         Reserve Company, including its
Shield (of Washington); Regence Blue Cross      divisions Blue Cross and Blue Shield of
Blue Shield of Oregon; Blue Cross & Blue        Illinois, Blue Cross and Blue Shield of
Shield of Mississippi, a Mutual Insurance       Texas, Blue Cross and Blue Shield of
Company; Wellmark of South Dakota, Inc.         New Mexico, Blue Cross and Blue
(Wellmark Blue Cross and Blue Shield of         Shield of Oklahoma, and Blue Cross and
South Dakota); Wellmark, Inc. (Wellmark         Blue Shield of Montana; Caring for
Blue Cross and Blue Shield of Iowa); Hawaii Montanans, Inc., f/k/a Blue Cross and
Medical Service Association (Blue Cross and Blue Shield of Montana, Inc.; Highmark
Blue Shield of Hawaii); Triple-S Salud, Inc;    Inc., f/k/a Highmark Health Services;
Defendants Blue Cross and Blue Shield of        Highmark West Virginia Inc.; Highmark
Florida, Inc.; Blue Cross and Blue Shield of    Blue Cross Blue Shield Delaware Inc.;
Massachusetts, Inc.; BlueCross BlueShield       California Physicians’ Service d/b/a
of Tennessee, Inc.                              Blue Shield of California; Wellmark of
                                                South Dakota, Inc. (Wellmark Blue
                                                Cross and Blue Shield of South Dakota);
Cavender C. Kimble                              Wellmark, Inc. (Wellmark Blue Cross
BALCH & BINGHAM LLP                             and Blue Shield of Iowa); Hawaii
1901 6th Avenue North, Suite 1500               Medical Service Association (Blue
Birmingham, AL 35203-4642                       Cross and Blue Shield of Hawaii)
Tel: (205) 226-3437
Fax: (205) 488-5860
ckimble@balch.com                               James L. Priester
                                                Carl S. Burkhalter
Counsel for Anthem, Inc., f/k/a WellPoint,      John Thomas A. Malatesta, III
Inc., and all of its named subsidiaries in this MAYNARD COOPER & GALE PC
consolidated action; Blue Cross and Blue        1901 6th Avenue North, Suite 2400
Shield of North Carolina, Inc.; Louisiana       Regions Harbert Plaza


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     Case 2:13-cv-20000-RDP Document 2869 Filed 11/12/21 Page 30 of 34




Health Service & Indemnity Company (Blue       Birmingham, AL 35203
Cross and Blue Shield of Louisiana); BCBSM,    Tel: (205) 254-1000
Inc. (Blue Cross and Blue Shield of            Fax: (205) 254-1999
Minnesota); Blue Cross and Blue Shield of      jpriester@maynardcooper.com
South Carolina; Horizon Healthcare Services,   cburkhalter@maynardcooper.com
Inc. (Horizon Blue Cross and Blue Shield of    jmalatesta@maynardcooper.com
New Jersey); Blue Cross & Blue Shield of
Rhode Island; Blue Cross and Blue Shield of    Pamela B. Slate
Vermont; Cambia Health Solutions, Inc.;        HILL CARTER FRANCO COLE &
Regence Blue Shield of Idaho; Regence Blue     BLACK, P.C.
Cross Blue Shield of Utah; Regence Blue        425 South Perry Street
Shield (of Washington); Regence Blue Cross     Montgomery, AL 36104
Blue Shield of Oregon                          Tel: (334) 834-7600
                                               Fax: (334) 386-4381
                                               pslate@hillhillcarter.com
Gwendolyn Payton
KILPATRICK TOWNSEND & STOCKTON                 With Cravath, Swaine & Moore LLP,
LLP                                            counsel for Defendant Blue Cross Blue
1420 Fifth Avenue, Suite 3700                  Shield of Alabama
Seattle, WA 98101
Tel: (206) 626-7714
Fax: (206) 299-0414                            Helen E. Witt, P.C.
gpayton@kilpatricktownsend.com                 Jeffrey J. Zeiger, P.C.
                                               KIRKLAND & ELLIS LLP
Counsel for Defendants Premera Blue Cross,     300 North LaSalle
d/b/a Premera Blue Cross Blue Shield of        Chicago, IL 60654
Alaska                                         Tel: (312) 862-2000
                                               Fax: (312) 862-2200
                                               hwitt@kirkland.com
Brian K. Norman                                jzeiger@kirkland.com
SHAMOUN & NORMAN, LLP
1800 Valley View Lane, Suite 200               Counsel for Defendants Health Care
Farmers Branch, TX 75234                       Service Corporation, an Illinois Mutual
Tel: (214) 987-1745                            Legal Reserve Company, including its
Fax: (214) 521-9033                            divisions Blue Cross and Blue Shield of
bkn@snlegal.com                                Illinois, Blue Cross and Blue Shield of
                                               Texas, Blue Cross and Blue Shield of
H. James Koch                                  New Mexico, Blue Cross and Blue
ARMBRECHT JACKSON LLP                          Shield of Oklahoma, and Blue Cross and
RSA Tower, 27th Floor                          Blue Shield of Montana; Caring for
11 North Water Street                          Montanans, Inc., f/k/a Blue Cross and
Mobile, AL 36602                               Blue Shield of Montana, Inc.; Highmark
Tel: (251) 405-1300                            Inc., f/k/a Highmark Health Services;
Fax: (251) 432-6843                            Highmark West Virginia Inc.; Highmark
hjk@ajlaw.com                                  Blue Cross Blue Shield Delaware Inc.;




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     Case 2:13-cv-20000-RDP Document 2869 Filed 11/12/21 Page 31 of 34




Counsel for Defendants CareFirst, Inc.;        Highmark Western and Northeastern
CareFirst of Maryland, Inc.; Group             New York Inc.
Hospitalization and Medical Services, Inc.;
CareFirst BlueChoice, Inc.
                                               Jonathan M. Redgrave
                                               REDGRAVE, LLP
R. David Kaufman                               14555 Avion Parkway, Suite 275
M. Patrick McDowell                            Chantilly, VA 20151
BRUNINI, GRANTHAM, GROWER                      Tel: (703) 592-1155
& HEWES, PLLC                                  Fax: (612) 332-8915
190 East Capitol Street                        jredgrave@redgravellp.com
The Pinnacle Building, Suite 100
Jackson, MS 39201                              Additional Counsel for HCSC and
Tel: (601) 948-3101                            Highmark Defendants
Fax: (601) 960-6902
dkaufman@brunini.com
pmcdowell@brunini.com                          Todd M. Stenerson
                                               Brian C. Hauser
Cheri D. Green                                 Edmund Y. Saw
BLUE CROSS & BLUE SHIELD OF                    SHEARMAN & STERLING LLP
MISSISSIPPI, A MUTUAL INSURANCE                401 9th Street, N.W., Suite 800
COMPANY                                        Washington, DC 20004
P.O. Box 1043                                  Tel: (202) 508-8000
Jackson, MS 39215                              Fax: (202) 508-8100
Tel: (601) 932-3704                            todd.stenerson@shearman.com
cdgreen@bcbsms.com                             brian.hauser@shearman.com
                                               edmund.saw@shearman.com
Counsel for Defendant Blue Cross & Blue
Shield of Mississippi, a Mutual Insurance      Sarah L. Cylkowski
Company                                        Thomas J. Rheaume, Jr.
                                               BODMAN PLC
                                               1901 Saint Antoine Street
Michael A. Naranjo                             6th Floor at Ford Field
FOLEY & LARDNER LLP                            Detroit, MI 48226
555 California Street, Suite 1700              Tel: (313) 259-7777
San Francisco, CA 94104                        Fax: (734) 930-2494
Tel: (415) 984-9847                            scylkowski@bodmanlaw.com
Fax: (415) 434-4507                            trheaume@bodmanlaw.com
mnaranjo@foley.com
                                               Andy P. Campbell
Alan D. Rutenberg                              A. Todd Campbell
Benjamin R. Dryden                             Yawanna N. McDonald
FOLEY & LARDNER LLP                            CAMPBELL PARTNERS LLC
3000 K Street, N.W., Suite 600                 505 North 20th Street, Suite 1600
Washington, DC 20007                           Birmingham, AL 35203
Tel: (202) 672-5300                            Tel: (205) 224-0750
Fax: (202) 672-5399                            Fax: (205) 224-8622



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     Case 2:13-cv-20000-RDP Document 2869 Filed 11/12/21 Page 32 of 34




arutenberg@foley.com                            andy@campbellpartnerslaw.com
bdryden@foley.com                               todd@campbellpartnerslaw.com
                                                yawanna@campbellpartnerslaw.com
Counsel for Defendant USAble Mutual
Insurance Company, d/b/a Arkansas Blue          Counsel for Defendant Blue Cross and
Cross and Blue Shield                           Blue Shield of Michigan


Robert K. Spotswood                             John Briggs
Michael T. Sansbury                             Rachel Adcox
Joshua K. Payne                                 Jeny M. Maier
Jess R. Nix                                     AXINN, VELTROP & HARKRIDER,
Morgan B. Franz                                 LLP
SPOTSWOOD SANSOM & SANSBURY                     1901 L Street, N.W.
LLC                                             Washington, DC 20036
Financial Center                                Tel: (202) 912-4700
505 20th Street North, Suite 700                Fax: (202) 912-4701
Birmingham, AL 35203                            jbriggs@axinn.com
Tel: (205) 986-3620                             radcox@axinn.com
Fax: (205) 986-3639                             jmaier@axinn.com
rks@spotswoodllc.com
msansbury@spotswoodllc.com                      Stephen A. Rowe
jpayne@spotswoodllc.com                         Aaron G. McLeod
jnix@spotswoodllc.com                           ADAMS AND REESE LLP
mfranz@spotswoodllc.com                         Regions Harbert Plaza
                                                1901 6th Avenue North, Suite 3000
Counsel for Defendant Capital BlueCross         Birmingham, AL 35203
                                                Tel: (205) 250-5000
                                                Fax: (205) 250-5034
Robert R. Riley, Jr.                            steve.rowe@arlaw.com
RILEY & JACKSON, P.C.                           aaron.mcleod@arlaw.com
3530 Independence Drive
Birmingham, AL 35209                            Counsel for Defendant Independence
Tel: (205) 879-5000                             Blue Cross
Fax: (205) 879-5901
rob@rileyjacksonlaw.com
                                                Kathleen Taylor Sooy
Counsel for Defendants Blue Cross and Blue      Tracy A. Roman
Shield of Florida, Inc.; Blue Cross and Blue    Sarah Gilbert
Shield of Massachusetts, Inc.; BlueCross        Honor Costello
BlueShield of Tennessee, Inc.                   CROWELL & MORING LLP
                                                1001 Pennsylvania Avenue, N.W.
                                                Washington, DC 20004
Edward S. Bloomberg                             Tel: (202) 624-2500
John G. Schmidt Jr.                             Fax: (202) 628-5116
Anna Mercado Clark                              ksooy@crowell.com
PHILLIPS LYTLE LLP                              troman@crowell.com
One Canalside


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     Case 2:13-cv-20000-RDP Document 2869 Filed 11/12/21 Page 33 of 34




125 Main Street                                 sgilbert@crowell.com
Buffalo, NY 14203                               hcostello@crowell.com
Tel: (716) 847-8400
Fax: (716) 852-6100                             John M. Johnson
ebloomberg@phillipslytle.com                    Brian P. Kappel
jschmidt@phillipslytle.com                      LIGHTFOOT FRANKLIN & WHITE
aclark@phillipslytle.com                        LLC
                                                The Clark Building
Stephen A. Walsh                                400 20th Street North
WEINBERG, WHEELER, HUDGINS,                     Birmingham, AL 35203
GUNN & DIAL                                     Tel: (205) 581-0700
100 Corporate Parkway                           Fax: (205) 581-0799
One Lake Level                                  jjohnson@lightfootlaw.com
Birmingham, AL 35242                            bkappel@lightfootlaw.com
Tel: (205) 572-4107
Fax: (205) 572-4199                             Counsel for Defendants Blue Cross of
swalsh@wwhgd.com                                Idaho Health Service, Inc.; Blue Cross
                                                and Blue Shield of Kansas, Inc.; Blue
Counsel for Defendant, Excellus Health Plan,    Cross and Blue Shield of Kansas City;
Inc., d/b/a Excellus BlueCross BlueShield,      Blue Cross and Blue Shield of
incorrectly sued as Excellus BlueCross          Nebraska; Blue Cross Blue Shield of
BlueShield of New York                          Arizona; Blue Cross Blue Shield of
                                                North Dakota; Blue Cross Blue Shield
                                                of Wyoming; Highmark Western and
                                                Northeastern New York Inc.


                                                David J. Zott, P.C.
                                                Daniel E. Laytin, P.C.
                                                KIRKLAND & ELLIS LLP
                                                300 North LaSalle
                                                Chicago, IL 60654
                                                Tel: (312) 862-2000
                                                Fax: (312) 862-2200
                                                david.zott@kirkland.com
                                                daniel.laytin@kirkland.com

                                                Counsel for Defendants Wellmark of
                                                South Dakota, Inc. (Wellmark Blue
                                                Cross and Blue Shield of South Dakota);
                                                Wellmark, Inc. (Wellmark Blue Cross
                                                and Blue Shield of Iowa); Triple-S
                                                Salud, Inc.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 12, 2021, the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all counsel

of record.



                                            /s/ Daniel E. Laytin
                                            Daniel E. Laytin
